                             Case 18-10512-KBO           Doc 2766          Filed 08/24/21       Page 1 of 5




                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

                                                                       )
             In re:                                                    )    Chapter 11
                                                                       )
             Zohar III, Corp., et al.,1                                )    Case No. 18-10512 (KBO)
                                                                       )
                                                Debtors.               )    Jointly Administered
                                                                       )
                                                                       )

                            NOTICE OF AMENDED2 AGENDA OF MATTERS SCHEDULED
                              FOR HEARING ON AUGUST 25, 2021 AT 10:00 A.M. (ET)


                            THIS HEARING WILL BE CONDUCTED ENTIRELY OVER ZOOM
                           AND REQUIRES ALL PARTICIPANTS TO REGISTER IN ADVANCE.
                                   COURTCALL WILL NOT BE USED TO DIAL IN.

                              Please use the following link to register for this hearing:
         https://debuscourts.zoomgov.com/meeting/register/vJIsfuyoqDopHVhVeL1P8kIGcSfWgkrTwlI3

          AFTER REGISTERING YOUR APPEARANCE BY ZOOM, YOU WILL RECEIVE A
       CONFIRMATION EMAIL CONTAINING INFORMATION ABOUT JOINING THE HEARING


         ADJOURNED/RESOLVED MATTERS

             1.       Motion of Patriarch For Entry of an Order Authorizing Filing of Objection Under Seal
                      [D.I. 2640; 6/22/21]

                      Related Documents:

                      A.      Patriarch’s Objection to Debtors' Motion for Entry of an Order Enforcing the
                              Settlement Agreement and the Ankura Appointment Order Regarding Galey &
                              Lord, LLC and for Related Relief [(SEALED) D.I. 2622; 6/15/21; (REDACTED)
                              D.I. 2668; 7/14/21]


         1
           The Debtors, and, where applicable, the last four digits of their taxpayer identification number are as follows: Zohar
         III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-1, Corp. (3724), Zohar III, Limited (9261), Zohar
         II 2005-1, Limited (8297), and Zohar CDO 2003-1, Limited (5119). The Debtors’ address is 3 Times Square, c/o FTI
         Consulting, Inc., New York, NY 10036.
         2
             All amendments appear in bold.
         3
          PARTIES SHOULD USE THIS LINK TO RE-REGISTER FOR A ZOOM APPEARANCE AS THE
         ZOOM LINK IN THE PREVIOUS AGENDA WAS INVALID.

28516652.1
                       Case 18-10512-KBO            Doc 2766     Filed 08/24/21     Page 2 of 5




                  B.        Certificate of No Objection [D.I. 2661; 7/7/21]

                  C.        Certification of Counel Regarding Motion of Patriarch For Entry of an Order
                            Authorizing Filing of Objection Under Seal [D.I. 2675; 7/15/21]

                  D.        Supplemental Certification of Counel Regarding Motion of Patriarch For Entry of
                            an Order Authorizing Filing of Objection Under Seal [D.I. 2748; 8/13/21]

                  E.        Order Authorizing Filing of Objection Under Seal [D.I. 2750; 8/16/21]

                  Response Deadline:                      July 6, 2021 at 4:00 p.m. (ET)

                  Responses Received:                     None

                  Status:          An order has been entered by the Court. No hearing is required.

             2.   Debtors’ Motion for Entry of an Order Authorizing the Filing of Debtors’ Preliminary
                  Reply Under Seal [D.I. 2671; 7/14/21]

                  Related Documents:

                  A.        Debtors’ Preliminary Reply to Patriarch’s Objection to Debtors’ Motion for Entry
                            of an Order Enforcing the Settlement Agreement and the Ankura Appointment
                            Order Regarding Galey & Lord LLC and for Related Relief [(SEALED) D.I. 2626;
                            6/17/21; (REDACTED) D.I. 2670; 7/14/21]

                  B.        Certificate of No Objection [D.I. 2711; 7/29/21]

                  C.        Order Authorizing the Filing of Debtors’ Preliminary Reply Under Seal [D.I. 2712;
                            7/30/21]

                  Response Deadline:                      July 28, 2021 at 4:00 p.m. (ET)

                  Responses Received:                     None

                  Status:          An order has been entered by the Court. No hearing is required.

             3.   Motion of Debtor Zohar II 2005-1, Corp. for an Order Enforcing the Court’s October 22,
                  2020 Order Approving Consummation of Portfolio Company Transaction (DKT No. 2050)
                  [(SEALED) D.I. 2708; 7/27/21; (REDACTED) D.I. 2721; 8/3/21]

                  Related Documents:

                  A.        Order Approving Consummation of Portfolio Company Transaction [D.I. 2050;
                            10/22/20]



28516652.1
                                                             2
                       Case 18-10512-KBO            Doc 2766      Filed 08/24/21    Page 3 of 5




                  B.        Debtors’ Motion for Entry of an Order Authorizing the Filing of Debtors’
                            Enforcement Motion Under Seal [D.I. 2722; 8/3/21]

                  Response Deadline:                      August 10, 2021 at 4:00 p.m. (ET); held in
                                                          abeyance for RM Technologies, Inc. (“Buyer”)

                  Responses Received:

                  C.        Informal response from Buyer

                  Status:          The Debtors have reached an agreement in principle with the Buyer
                                   subject to documentation. The parties have agreed to hold a hearing on
                                   the Motion in abeyance while they finalize documentation of their
                                   resolution.

             4.   Debtors’ Motion for Entry of an Order Authorizing the Filing of Debtors’ Enforcement
                  Motion Under Seal [D.I. 2722; 8/3/21]

                  Related Documents:

                  A.        Motion of Debtor Zohar II 2005-1, Corp. for an Order Enforcing the Court’s
                            October 22, 2020 Order Approving Consummation of Portfolio Company
                            Transaction (DKT No. 2050) [(SEALED) D.I. 2708; 7/27/21; (REDACTED) D.I.
                            2721; 8/3/21]

                  B.        Certificate of No Objection [D.I. 2754; 8/18/21]

                  C.        Order Authorizing the Filing of Debtors’ Enforcement Motion Under Seal [D.I.
                            2760; 8/19/21]

                  Response Deadline:                      August 17, 2021 at 4:00 p.m. (ET)

                  Responses Received:                     None

                  Status:          An order has been entered by the Court. No hearing is required.

             5.   Debtors’ Motion for Entry of an Order (I) Authorizing Amendment to the New Agent
                  Agreement and (II) Granting Related Relief [(SEALED) D.I. 2729; 8/4/21; (REDACTED)
                  D.I. 2757; 8/19/21]

                  Related Documents:

                  A.        Debtors’ Motion for Entry of an Order Authorizing the Filing of the Portions of the
                            Debtors’ Motion for Entry of an Order (I) Authorizing Amendment to the New
                            Agent Agreement and (II) Granting Related Relief [D.I. 2758; 8/19/21]

                  B.        Certificate of No Objection [D.I. 2759; 8/19/21]

28516652.1
                                                             3
                       Case 18-10512-KBO          Doc 2766     Filed 08/24/21     Page 4 of 5




                  C.        Order (I) Authorizing Amendment to the New Agent Agreement and (II) Granting
                            Related Relief [D.I. 2761; 8/20/21]

                  Response Deadline:                    August 18, 2021 at 4:00 p.m. (ET)

                  Responses Received:                   None

                  Status:         An order has been entered by the Court. No hearing is required.

         MATTER GOING FORWARD

             6.   Debtors' Motion for Entry of an Order (I) Establishing Deadlines for the Filing of Proofs
                  of Claim and Requests for Payment of Administrative Expenses, (II) Approving the Form
                  and Manner of Notice Thereof, and (III) Granting Related Relief [D.I. 2742; 8/11/21]

                  Related Documents:

                  Response Deadline:                    August 18, 2021 at 4:00 p.m. (ET)

                  Responses Received:

                  A.    Patriarch’s Limited Objection to Debtors' Motion for Entry of an Order (I)
                        Establishing Deadlines for the Filing of Proofs of Claim and Requests for Payment
                        of Administrative Expenses, (II) Approving the Form and Manner of Notice
                        Thereof, and (III) Granting Related Relief [D.I. 2753; 8/18/21]

                  B.    Informal response from the U.S. Trustee

                  C.    Informal response from Ankura Trust Company, LLC

                  Status:         The Debtors have resolved items B and C and anticipate filing a revised
                                  form of order in connection therewith prior to the hearing. Item A will be
                                  going forward.




28516652.1
                                                           4
                       Case 18-10512-KBO   Doc 2766     Filed 08/24/21       Page 5 of 5




             Dated: August 24, 2021        YOUNG CONAWAY STARGATT & TAYLOR, LLP
                    Wilmington, Delaware
                                           /s/ Shane M. Reil
                                           James L. Patton, Jr. (No. 2202)
                                           Robert S. Brady (No. 2847)
                                           Michael R. Nestor (No. 3526)
                                           Joseph M. Barry (No. 4221)
                                           Ryan M. Bartley (No. 4985)
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                                           Counsel to the Debtors and Debtors in Possession




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